    Appellate Case: 20-1320          Document: 010110578380
                                               010110578266                 Date Filed: 09/20/2021
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                                  UNITED STATES COURT OF APPEALS
                                      FOR THE TENTH CIRCUIT

                     Entry of Appearance and Certificate of Interested Parties
 C1. G, on behalf of his minor son, C.G.,

 v.                                            Case No. 20-1320
 SCOTT SIEGFRIED, Superintendent of Cherry
 Creek School District, et al.
INSTRUCTIONS: COUNSEL FOR A PARTY MUST FORTHWITH EXECUTE AND FILE THIS FORM,
INDICATING METHOD(S) OF SERVICE ON ALL OTHER PARTIES. MULTIPLE COUNSEL APPEARING FOR
A PARTY OR PARTIES AND WHO SHARE THE SAME MAILING ADDRESS MAY ENTER THEIR
APPEARANCES ON THE SAME FORM BY EACH SIGNING INDIVIDUALLY.



        In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear as counsel for
____________________________________________________________________________________
American Civil Liberties Union of Colorado
                                           Party or Parties
_________________________________________________________________________,
Amicus Curiae                                                              in the subject case(s).
                            Appellant/Petitioner or Appellee/Respondent

        Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)
        On the reverse of this form is a completed certificate of interested parties and/or attorneys not otherwise
        disclosed, who are now or have been interested in this litigation or any related proceeding. Specifically,
        counsel should not include in the certificate any attorney or party identified immediately above.
✔       There are no such parties, or any such parties have heretofore been disclosed to the court.

Mark Silverstein
_________________________________________                   Sara R. Neel
                                                            ______________________________________________
Name of Counsel                                             Name of Counsel

/s/Mark Silverstein
___________________________________________                 /s/Sara R. Neel
                                                            ______________________________________________
Signature of Counsel                                        Signature of Counsel
303 E. 17th Avenues, Suite 350                              303 E. 17th Avenues, Suite 350
Denver, CO 80203                                            Denver, CO 80203
(303) 777-5482
___________________________________________                 (303) 777-5482
                                                            ______________________________________________
Mailing Address and Telephone Number                        Mailing Address and Telephone Number

               msilverstein@aclu-co.org
E-Mail Address ______________________________                              sneel@aclu-co.org
                                                            E-Mail Address _________________________________


I hereby certify that a copy of this Entry of Appearance and Certificate of Interested Parties was served on

(please insert date) 9/17/2021                                                  CM/ECF
                     ____________________________ via (state method of service) ______________________.


to __________________________________________               /s/ Mark Silverstein
                                                            ______________________________________________
(See Fed. R. App. P. 25(b))                                 (Signature)



A-5 Entry of Appearance Form 10/09
 Appellate Case: 20-1320         Document: 010110578380
                                           010110578266            Date Filed: 09/20/2021
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                              UNITED STATES COURT OF APPEALS
                                  FOR THE TENTH CIRCUIT

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 SCOTT SIEGFRIED, Superintendent of
 Cherry Creek School District, et al.


                                     Certificate of Interested Parties




       The following are not direct parties in this appeal but do have some interest in or a relationship
with the litigation or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
entering an appearance in this court but who have appeared for any party in prior trial or administrative
proceedings, or in related proceedings, are noted below.

                                  (Attach additional pages if necessary.)




A-5 Entry of Appearance Form 10/09
